Case 2:05-cr-20277-BBD Document 23 Filed 08/24/05 Page 1 of 2 Page|D 31

IN THE UNITED sTATEs DISTRICT coURT F“-F~D BY -~--- D-C-
FoR THE wEerRN DIsTRICT or TENNESSF.E

 

 

 

wEsTERN DIVISION 05 AUG 21» PH 3= 32
TWM“SM`G@UW'_` `” . _
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UNITED STATES OF AMERICA wm GF tit pittth
v.
GENO BONDS 05cr20277-3-D
ORDER ON ARRAIGNMENT
This cause came to be heard on OB'ISW 105 the United States Attorney

 

for this district appeared on behalf of the government, and the defendant appeared in person and with
counsel:

NAME FA'FY| HA'm KLN who is Retained/Appointed.

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended.

\/The defendant, Who is not in custody, may stand on his present bond.
The defendant, (not having made bond) (being a state prisoner) (being a federal
prisoner) (being held Without bond pursuant to BRA of 1984), is remanded to the custody

of the U.S. Marshal.
/.._.
g //Wa div

UNITED STATES MAGISTRATE ]UDGE

 

CHARGES - 18:371
CONSPIRACY TO DEFRAUD THE UNITED STATES

Attorney assigned to Case: ]. Murphy

Age= 27

Thls document entered on the docket sheet tn compliance
with Rule 55 and/or 32(b) FHCrP on -'

 

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This notice confirms a copy of the document docketed as number 23 in
case 2:05-CR-20277 was distributed by faX, mail, or direct printing on
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PDA

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

William C. Gosnell

LAW OFFICE OF WILLIAM C. GOSNELL
245 EXchange Ave.

l\/lemphis7 TN 38105

Honorable Bernice Donald
US DISTRICT COURT

